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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re: : Chapter 11
SP Wind Down Inc., f/k/a Spheris Inc., et al., : Case No. 10-10352 (KG)
: Jointly Administered
Debtors.
: Re: Docket No. 434
x

 

ORDER EXTENDING DEBTORS’ EXCLUSIVE PERIODS
TO FILE CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES
THERETO PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE

Upon consideration of the motion (the “Motion”) of the debtors and debtors in

 

possession in the above-captioned cases (collectively, the “Debtors”) for entry of an order,

 

pursuant to section 1121(d) of title 11 of the United States Code (the “Bankruptcy Code”), Rule
9006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 9006-2
of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the District of Delaware (the “Local Rules”), extending the Debtors’ Exclusive Periods to file
a chapter 11 plan or plans and to solicit acceptances of such plan(s); and notice of the Motion
having been provided to the parties identified in the Motion; and it appearing that no other or
further notice need be provided; and it appearing that the relief requested in the Motion is in the
best interests of the Debtors and their respective estates and creditors; and after due deliberation

and sufficient cause appearing therefor, it is hereby:

 

The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) SP
Wind Down Inc., f/k/a/ Spheris Inc. (5254); (ii) SP Wind Down Holding I, Inc., f/k/a Spheris Holding II,
Inc. (7969); (iii) SP Wind Down Canada Inc., f/k/a Spheris Canada Inc. (9757); (iv) SP Wind Down
Leasing LLC, f/k/a Spheris Leasing LLC (4780); (v) SP Wind Down Operations LLC, f/k/a Spheris
Operations LLC (1371); and (vi) VN Wind Down Communications, f/k/a Vianeta Communications (1121).
The Debtors’ executive headquarters are located at 9009 Carothers Parkway, Suite C-3, Franklin,
Tennessee 37067.

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ORDERED, ADJUDGED, AND DECREED that:
1. The Motion is GRANTED.

2. Capitalized terms not otherwise defined herein shall have the meanings
ascribed to such terms in the Motion.

3. The Debtors’ Exclusive Filing Period shall be extended through and
including September 1, 2010.

4. The Debtors’ Exclusive Solicitation Period shall be extended through and
including November 1, 2010.

5. The entry of this Order shall be without prejudice to the rights of the
Debtors to request further extensions of the Exclusive Periods or to seek other appropriate relief.

6. This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation or interpretation of this Order.

Dated: 14 2010
ilmington, Delaware

 

UNITED S$ S BANKRUPTCY JUDGE

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